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 CSD 1099 (Page 2) [07/01/18]

                                                         INSTRUCTIONS

1.      Local Form CSD 1101, Notice to Creditors of The Above-Named Debtor Added by Amendment or Balance of
        Schedules, may be used to notify any added entity. When applicable, copies of the following notices must accompany
        the notice: Order for and Notice of Section 341(a) Meeting, Discharge of Debtor, Notice of Order Confirming Plan,
        and Proof of Claim.

2.      If not filed previously and this is an ECF case, the Declaration Re: Electronic Filing of Petition, Schedules &
        Statements (Local Form CSD 1801) must be filed in accordance with LBR 5005-4(c).

3.      If this is a Chapter 11 case, each member of any committee appointed must be served this Balance of Schedules.

                                                      PROOF OF SERVICE

        I, whose address appears below, certify:

        That I am, and at all relevant times was, more than 18 years of age;

        I served a true copy of this Balance of Schedules and/or Chapter 13 Plan on the following persons listed below
        by the mode of service shown below:
 1.     To Be Served by the Court via Notice of Electronic Filing (“NEF”):

          Under controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the court
 via NEF and hyperlink to the document. On          01/29/2019         , I checked the CM/ECF docket for this
 bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail Notice
 List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:

 The Wolf Firm - wdk@wolffirm.com




               Chapter 7 Trustee:



               For Chpt. 7, 11, & 12 cases:      For ODD numbered Chapter 13 cases:    ✔    For EVEN numbered Chapter 13 cases:
               UNITED STATES TRUSTEE             THOMAS H. BILLINGSLEA, JR., TRUSTEE        DAVID L. SKELTON, TRUSTEE
               ustp.region15@usdoj.gov           Billingslea@thb.coxatwork.com              admin@ch13.sdcoxmail.com
                                                                                            dskelton13@ecf.epiqsystems.com




 2.     Served by United States Mail:

         On          January 29, 2019       , I served the following person(s) and/or entity(ies) at the last known address(es)
 in this bankruptcy case or adversary proceeding by placing accurate copies in a sealed envelope in the United States
 Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:

 - Franchise Tax Board, Personal Bankruptcy MS A340, PO Box 2952, Sacramento, CA 95812-2952

 - Internal Revenue Service, Centralized Insolvency Operation, PO Box 7346, Philadelphia, PA 19101-7346




CSD 1099
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3.     Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

       Under Fed.R.Civ.P.5 and controlling LBR, on                                  , I served the following person(s)
and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method) by facsimile
transmission, by overnight delivery, and/or electronic mail as follows:




       I declare under penalty of perjury under the laws of the United States of America that the statements made in this
       proof of service are true and correct.



      Executed on     January 29, 2019                       Deepalie Milie Joshi, Esq. , /s/ Deepalie Milie Joshi, Esq.
                       (Date)                                 (Typed Name and Signature)

                                                             8555 Aero Drive, Ste. 303
                                                              (Address)

                                                             San Diego, CA 92123
                                                              (City, State, ZIP Code)




CSD 1099
              Case 19-00148-MM7                           Filed 01/29/19                    Entered 01/29/19 19:06:23                                 Doc 10         Pg. 4 of 61

 Fill in this information to identify your case:

 Debtor 1                   Dawn Breeze Muehl
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF CALIFORNIA

 Case number           19-00148-MM13
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          1,390,267.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              74,045.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,464,312.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             317,474.76

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              75,000.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $                2,977.00


                                                                                                                                     Your total liabilities $               395,451.76


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,050.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                4,159.66

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Dawn Breeze Muehl                                                          Case number (if known) 19-00148-MM13

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $            3,050.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            75,000.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             75,000.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
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            Case 19-00148-MM7                                  Filed 01/29/19                  Entered 01/29/19 19:06:23                     Doc 10         Pg. 6 of 61

 Fill in this information to identify your case and this filing:

 Debtor 1                    Dawn Breeze Muehl
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF CALIFORNIA

 Case number            19-00148-MM13                                                                                                                            Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1720 Woodbridge Road                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Escondido                         CA        92026-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $536,767.00                $536,767.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        San Diego                                                                      Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1        Dawn Breeze Muehl                                                                                      Case number (if known)          19-00148-MM13

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       1724 Woodbridge Road                                                   Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Escondido                         CA        92026-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $526,500.00                   $526,500.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only
       San Diego                                                              Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Rental Property


       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       0000 Crestline Road                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Escondido                         CA        92026-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $75,000.00                    $75,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only
       San Diego                                                              Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Plot of Land in Palomar Mountain
                                                                       APN: 1350645800




Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 2
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 Debtor 1         Dawn Breeze Muehl                                                                                             Case number (if known)          19-00148-MM13

        If you own or have more than one, list here:
 1.4                                                                         What is the property? Check all that apply
        9077 Old Castle Road                                                          Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the          Current value of the
        Valley Center                     CA        92082-0000                        Land                                            entire property?              portion you own?
        City                              State              ZIP Code                 Investment property                                    $252,000.00                   $252,000.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only
        San Diego                                                                     Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Occupied by Debtor's Mother


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                           $1,390,267.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Ford                                            Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Focus ST                                           Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2013                                               Debtor 2 only                                               Current value of the         Current value of the
          Approximate mileage:                        75000                Debtor 1 and Debtor 2 only                                  entire property?             portion you own?
          Other information:                                               At least one of the debtors and another
         Good Condition
                                                                           Check if this is community property                                 $11,100.00                    $11,100.00
                                                                           (see instructions)



  3.2     Make:         Porsche                                         Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        968                                                Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         1993                                               Debtor 2 only                                               Current value of the         Current value of the
          Approximate mileage:                        75000                Debtor 1 and Debtor 2 only                                  entire property?             portion you own?
          Other information:                                               At least one of the debtors and another
         Non-operational
                                                                           Check if this is community property                                   $2,000.00                     $2,000.00
                                                                           (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                               page 3
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 Debtor 1        Dawn Breeze Muehl                                                                                  Case number (if known)       19-00148-MM13

  3.3    Make:       Hyundai                                   Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Sonata                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2003                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 125000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Non-Operational
                                                                     Check if this is community property                                $1,000.00                  $1,000.00
                                                                     (see instructions)



  3.4    Make:       Harley Davidson                           Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      FLS Softail Slim                                Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         information unknown
         Debtor Co-signed for a friend                               Check if this is community property                              $13,585.00                 $13,585.00
         mileage unknown                                             (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $27,685.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household Goods and Furnishings
                                    (no item exceeds $650 in value)                                                                                                 $8,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Household Electronics
                                    (no item exceeds $650 in value)                                                                                                 $3,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 4
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 Debtor 1         Dawn Breeze Muehl                                                                                           Case number (if known)   19-00148-MM13
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Used Wearing Apparel
                                            (no item exceeds $650 in value)                                                                                           $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Costume Jewelry                                                                                                             $150.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            Housecats                                                                                                                     $50.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $12,200.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                          Checking/Savings
                                              17.1.       (x654)                                  Capital One                                                             $20.00


Official Form 106A/B                                                                       Schedule A/B: Property                                                           page 5
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 Debtor 1         Dawn Breeze Muehl                                                                               Case number (if known)   19-00148-MM13


                                          17.2.    Checking (0191)              Bank of America                                                            $100.00



                                          17.3.    Checking (6664)              Frontwave Credit Union                                                     $300.00


                                                   Savings
                                          17.4.    /Checking(5972)              Point Loma Credit Union (5972)                                                 $5.00

                                                   Starbucks Rewards
                                                   Prepaid Visa Debit
                                          17.5.    Account (0001      Chase Bank                                                                           $300.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                 % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                Institution name:

                                          IRA (3923)                            Merril Edge (Bank of America Corp)                                     $24,756.00


                                          Roth IRA (4124)                       Merril Edge (Bank of America Corp)                                       $8,678.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

Official Form 106A/B                                                     Schedule A/B: Property                                                                page 6
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 Debtor 1        Dawn Breeze Muehl                                                                                               Case number (if known)        19-00148-MM13
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                                  Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                          Rental Income As it Comes Due                                                                                             $1.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $34,160.00


Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                       Best Case Bankruptcy
           Case 19-00148-MM7                                Filed 01/29/19                     Entered 01/29/19 19:06:23                                        Doc 10   Pg. 13 of 61

 Debtor 1         Dawn Breeze Muehl                                                                                                     Case number (if known)       19-00148-MM13

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                            $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $1,390,267.00
 56. Part 2: Total vehicles, line 5                                                                           $27,685.00
 57. Part 3: Total personal and household items, line 15                                                      $12,200.00
 58. Part 4: Total financial assets, line 36                                                                  $34,160.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $74,045.00              Copy personal property total                $74,045.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $1,464,312.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                                 page 8
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           Case 19-00148-MM7                         Filed 01/29/19             Entered 01/29/19 19:06:23                      Doc 10       Pg. 14 of 61

 Fill in this information to identify your case:

 Debtor 1                 Dawn Breeze Muehl
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number           19-00148-MM13
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      1720 Woodbridge Road Escondido,                                $536,767.00                               $75,000.00       C.C.P. § 704.730
      CA 92026 San Diego County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2013 Ford Focus ST 75000 miles                                  $11,100.00                                 $3,050.00      C.C.P. § 704.010
      Good Condition
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      1993 Porsche 968 75000 miles                                     $2,000.00                                 $2,000.00      C.C.P. § 704.040
      Non-operational
      Line from Schedule A/B: 3.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household Goods and Furnishings                                  $8,000.00                                 $8,000.00      C.C.P. § 704.020
      (no item exceeds $650 in value)
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household Electronics                                            $3,000.00                                 $3,000.00      C.C.P. § 704.020
      (no item exceeds $650 in value)
      Line from Schedule A/B: 7.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 1 of 3
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         Case 19-00148-MM7                           Filed 01/29/19             Entered 01/29/19 19:06:23                      Doc 10         Pg. 15 of 61

 Debtor 1    Dawn Breeze Muehl                                                                           Case number (if known)     19-00148-MM13
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Used Wearing Apparel                                             $1,000.00                                  $1,000.00        C.C.P. § 704.020
     (no item exceeds $650 in value)
     Line from Schedule A/B: 11.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Costume Jewelry                                                     $150.00                                   $150.00        C.C.P. § 704.040
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Housecats                                                            $50.00                                    $50.00        C.C.P. § 704.020
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking/Savings (x654): Capital                                     $20.00                                    $20.00        C.C.P. § 704.070
     One
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking (0191): Bank of America                                    $100.00                                   $100.00        C.C.P. § 704.070
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking (6664): Frontwave Credit                                   $300.00                                   $300.00        C.C.P. § 704.070
     Union
     Line from Schedule A/B: 17.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings /Checking(5972): Point Loma                                    $5.00                                     $5.00       C.C.P. § 704.070
     Credit Union (5972)
     Line from Schedule A/B: 17.4                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Starbucks Rewards Prepaid Visa                                      $300.00                                   $300.00        C.C.P. § 704.070
     Debit Account (0001: Chase Bank
     Line from Schedule A/B: 17.5                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA (3923): Merril Edge (Bank of                                $24,756.00                                $24,756.00         C.C.P. § 704.115(a)(1) & (2),
     America Corp)                                                                                                                (b)
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Roth IRA (4124): Merril Edge (Bank of                            $8,678.00                                  $8,678.00        C.C.P. § 704.115(a)(1) & (2),
     America Corp)                                                                                                                (b)
     Line from Schedule A/B: 21.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Rental Income As it Comes Due                                          $1.00                                     $1.00       C.C.P. § 704.070
     Line from Schedule A/B: 30.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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         Case 19-00148-MM7                           Filed 01/29/19        Entered 01/29/19 19:06:23               Doc 10       Pg. 16 of 61

 Debtor 1    Dawn Breeze Muehl                                                                 Case number (if known)     19-00148-MM13
 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                        page 3 of 3
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           Case 19-00148-MM7                         Filed 01/29/19                Entered 01/29/19 19:06:23                       Doc 10         Pg. 17 of 61

 Fill in this information to identify your case:

 Debtor 1                   Dawn Breeze Muehl
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number           19-00148-MM13
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Dan McAllister                           Describe the property that secures the claim:                   $5,500.00             $536,767.00                     $0.00
         Creditor's Name                          1720 Woodbridge Road Escondido,
         San Diego County Tax                     CA 92026 San Diego County
         Collector
         1600 Pacific Highway,                    As of the date you file, the claim is: Check all that
                                                  apply.
         Room 162                                     Contingent
         San Diego, CA 92101
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Property Taxes
       community debt

 Date debt was incurred          2018-2019                 Last 4 digits of account number        2600

 2.2     Dan McAllister                           Describe the property that secures the claim:                   $1,812.76             $526,500.00                     $0.00
         Creditor's Name                          1724 Woodbridge Road Escondido,
         San Diego County Tax                     CA 92026 San Diego County
         Collector                                Rental Property
         1600 Pacific Highway,                    As of the date you file, the claim is: Check all that
                                                  apply.
         Room 162
         San Diego, CA 92101                          Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Property Taxes Owed
       community debt

 Date debt was incurred          2017 - 2018               Last 4 digits of account number

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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           Case 19-00148-MM7                             Filed 01/29/19               Entered 01/29/19 19:06:23                        Doc 10   Pg. 18 of 61

 Debtor 1 Dawn Breeze Muehl                                                                                   Case number (if known)    19-00148-MM13
               First Name                  Middle Name                      Last Name




 2.3     Dan McAllister                             Describe the property that secures the claim:                      $1,500.00          $75,000.00              $0.00
         Creditor's Name                            0000 Crestline Road Escondido, CA
         San Diego County Tax                       92026 San Diego County
         Collector                                  Plot of Land in Palomar Mountain
         1600 Pacific Highway,                      APN: 1350645800
                                                    As of the date you file, the claim is: Check all that
         Room 162                                   apply.
         San Diego, CA 92101                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.4     Dan McAllister                             Describe the property that secures the claim:                      $3,200.00         $252,000.00              $0.00
         Creditor's Name                            9077 Old Castle Road Valley Center,
         San Diego County Tax                       CA 92082 San Diego County
         Collector                                  Occupied by Debtor's Mother
         1600 Pacific Highway,                      As of the date you file, the claim is: Check all that
                                                    apply.
         Room 162
         San Diego, CA 92101                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.5     Harley Davidson Credit                     Describe the property that secures the claim:                    $13,400.00           $13,585.00              $0.00
         Creditor's Name                            2015 Harley Davidson FLS Softail
                                                    Slim
                                                    information unknown
                                                    Debtor Co-signed for a friend
                                                    mileage unknown
                                                    As of the date you file, the claim is: Check all that
         PO Box 21829                               apply.
         Carson City, NV 89721                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Co-signed for loan for friend
       community debt

 Date debt was incurred          6/2016                      Last 4 digits of account number         xxxx

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 3
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           Case 19-00148-MM7                             Filed 01/29/19               Entered 01/29/19 19:06:23                        Doc 10    Pg. 19 of 61

 Debtor 1 Dawn Breeze Muehl                                                                                   Case number (if known)    19-00148-MM13
               First Name                  Middle Name                      Last Name




         Select Portfolio Servicing
 2.6                                                                                                                $292,062.00           $536,767.00             $0.00
         Inc                                        Describe the property that secures the claim:
         Creditor's Name                            1720 Woodbridge Road Escondido,
                                                    CA 92026 San Diego County
         PO Box 65250
                                                    As of the date you file, the claim is: Check all that
         Salt Lake City, UT                         apply.
         84165-0250                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage Loan
       community debt

 Date debt was incurred          2/2007                      Last 4 digits of account number         6994


   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $317,474.76
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $317,474.76

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3
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           Case 19-00148-MM7                         Filed 01/29/19                    Entered 01/29/19 19:06:23                         Doc 10       Pg. 20 of 61

 Fill in this information to identify your case:

 Debtor 1                     Dawn Breeze Muehl
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF CALIFORNIA

 Case number           19-00148-MM13
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          Franchise Tax Board                                    Last 4 digits of account number                        $50,000.00         $50,000.00                   $0.00
              Priority Creditor's Name
              Personal Bankruptcy MS A340                            When was the debt incurred?           2013 - 2018
              PO Box 2952
              Sacramento, CA 95812-2952
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        income tax liability for unfiled taxes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 3
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          Case 19-00148-MM7                          Filed 01/29/19                    Entered 01/29/19 19:06:23                         Doc 10            Pg. 21 of 61

 Debtor 1 Dawn Breeze Muehl                                                                                Case number (if known)            19-00148-MM13

 2.2        Internal Revenue Service                                 Last 4 digits of account number                        $25,000.00             $25,000.00                    $0.00
            Priority Creditor's Name
            Centralized Insolvency Operati                           When was the debt incurred?         2013-2018
            Post Office Box 7346
            Philadelphia, PA 19101-7346
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            income tax liability for unfiled taxes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Comenity Bank                                              Last 4 digits of account number        xxxx                                                           $300.00
            Nonpriority Creditor's Name
            Bankruptcy Department                                      When was the debt incurred?            8/2003
            PO Box 182125
            Columbus, OH 43218
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify    Charge Card




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 3
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         Case 19-00148-MM7                           Filed 01/29/19                 Entered 01/29/19 19:06:23                         Doc 10            Pg. 22 of 61

 Debtor 1 Dawn Breeze Muehl                                                                              Case number (if known)          19-00148-MM13

 4.2       Midland Funding LLC                                       Last 4 digits of account number       7973                                                      $2,677.00
           Nonpriority Creditor's Name
           2365 Northside Dr., Ste. 300                              When was the debt incurred?           3/2018
           San Diego, CA 92108
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Debt Buyer for Citibank NA

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenity Bank | Lane Bryant                                   Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 182789                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43218
                                                               Last 4 digits of account number                    xxxx

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                      75,000.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                      75,000.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                       2,977.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                       2,977.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                  Dawn Breeze Muehl
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF CALIFORNIA

 Case number           19-00148-MM13
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Renter 1                                                                   Month to Month rental agreement for Bedroom 1
               1720 Woodbridge Road
               Escondido, CA 92026

     2.2       Renter 1                                                                   Month to Month rental agreement for Bedroom 1
               1724 Woodbridge Road
               Escondido, CA 92026

     2.3       Renter 2                                                                   Month to Month rental agreement for Bedroom 2
               1720 Woodbridge Road
               Escondido, CA 92026

     2.4       Renter 2                                                                   Month to Month rental agreement for Bedroom 2
               1724 Woodbridge Road
               Escondido, CA 92026

     2.5       Renter 3                                                                   Month to Month rental agreement for Bedroom 3
               1720 Woodbridge Road
               Escondido, CA 92026

     2.6       Renter 3                                                                   Month to Month rental agreement for Bedroom
               1724 Woodbridge Road
               Escondido, CA 92026




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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           Case 19-00148-MM7                            Filed 01/29/19         Entered 01/29/19 19:06:23         Doc 10        Pg. 24 of 61

 Fill in this information to identify your case:

 Debtor 1                   Dawn Breeze Muehl
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF CALIFORNIA

 Case number           19-00148-MM13
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Michael Sloan                                                                         Schedule D, line   2.5
                                                                                                      Schedule E/F, line
                Address unknown
                                                                                                      Schedule G
                                                                                                    Harley Davidson Credit




Official Form 106H                                                              Schedule H: Your Codebtors                                  Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Dawn Breeze Muehl

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF CALIFORNIA

Case number               19-00148-MM13                                                                  Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
                                                                      Not employed                                 Not employed
       information about additional
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $       N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Dawn Breeze Muehl                                                                     Case number (if known)    19-00148-MM13


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $               N/A
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $               N/A
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $               N/A
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $               N/A
      5e.   Insurance                                                                      5e.        $              0.00     $               N/A
      5f.   Domestic support obligations                                                   5f.        $              0.00     $               N/A
      5g.   Union dues                                                                     5g.        $              0.00     $               N/A
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
      8e. Social Security                                                                  8e.        $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.        $              0.00     $               N/A
      8g. Pension or retirement income                                                     8g.        $              0.00     $               N/A
                                       Rental Income from 1720
      8h.   Other monthly income. Specify:
                                       Woodbridge Road                                     8h.+ $              800.00 + $                     N/A
            Rental Income from 1724 Woodbridge Road                                             $            2,250.00   $                     N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          3,050.00         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              3,050.00 + $             N/A = $          3,050.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $         3,050.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor is in the process of getting a job. Anticipated income will be between $13-15 per hour at
                             25-35 hours per week.
                             Debtor has also given notice to all of her tenants that their rental rates are increasing within 60 days.
                             She anticipates an increase in rental income by $1,500 - $2,500 per month.




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 Dawn Breeze Muehl                                                                 Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA                                            MM / DD / YYYY

Case number           19-00148-MM13
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,809.66

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                           300.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                           200.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Dawn Breeze Muehl                                                                         Case number (if known)      19-00148-MM13

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 200.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                500.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                100.00
10.   Personal care products and services                                                    10. $                                                  50.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   50.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       4,159.66
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       4,159.66
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,050.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,159.66

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -1,109.66

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: If the Court grants an order providing authority to do so, Debtor intends to sell at least 1 of her
                          pieces of real property to help decrease her expenses and to fund a portion of her Plan.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Dawn Breeze Muehl
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number              19-00148-MM13
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Dawn Breeze Muehl                                                     X
              Dawn Breeze Muehl                                                         Signature of Debtor 2
              Signature of Debtor 1

              Date       January 29, 2019                                               Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Dawn Breeze Muehl
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number           19-00148-MM13
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                            Dates Debtor 2
                                                                 lived there                                                                   lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
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 Debtor 1      Dawn Breeze Muehl                                                                           Case number (if known)   19-00148-MM13


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Rental Income                                               $3,000.00
 the date you filed for bankruptcy:

 For last calendar year:                           Rental Income                                $36,000.00
 (January 1 to December 31, 2018 )

 For the calendar year before that:                Rental Income                                $36,000.00
 (January 1 to December 31, 2017 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe




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 Debtor 1      Dawn Breeze Muehl                                                                           Case number (if known)    19-00148-MM13


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
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 Debtor 1      Dawn Breeze Muehl                                                                           Case number (if known)    19-00148-MM13


      or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your          Value of property
       how the loss occurred                                                                                                  loss                               lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                 Amount of
       Address                                                       transferred                                              or transfer was               payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Joshi Law Group                                                                                                                                           $0.00
       8555 Aero Drive, Ste. 303
       San Diego, CA 92123


       Credit Counseling Course                                                                                                                                $15.00



       United States Bankruptcy Court                                Filing Fee                                                                              $310.00
       Southern District of California
       325 West F Street
       San Diego, CA 92101


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                 Amount of
       Address                                                       transferred                                              or transfer was               payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or           Date transfer was
       Address                                                       property transferred                       payments received or debts         made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                             Date Transfer was
                                                                                                                                                   made


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 Debtor 1      Dawn Breeze Muehl                                                                                Case number (if known)   19-00148-MM13


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or           Date account was            Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                   closed, sold,           before closing or
       Code)                                                                                                               moved, or                        transfer
                                                                                                                           transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                                 have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                         have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




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 Debtor 1      Dawn Breeze Muehl                                                                                Case number (if known)   19-00148-MM13


25. Have you notified any governmental unit of any release of hazardous material?

             No
             Yes. Fill in the details.
        Name of site                                                 Governmental unit                             Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                   Court or agency                            Nature of the case                   Status of the
        Case Number                                                  Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business                 Employer Identification number
        Address                                                                                                      Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Dawn Breeze Muehl
 Dawn Breeze Muehl                                                       Signature of Debtor 2
 Signature of Debtor 1

 Date      January 29, 2019                                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
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 Debtor 1      Dawn Breeze Muehl                                                                           Case number (if known)   19-00148-MM13




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  Fill in this information to identify your case:                                                              Check as directed in lines 17 and 21:
                                                                                                               According to the calculations required by
  Debtor 1           Dawn Breeze Muehl
                    __________________________________________________________________                         this Statement:
                      First Name             Middle Name             Last Name

  Debtor 2            ________________________________________________________________                         
                                                                                                               ✔   1. Disposable income is not determined
  (Spouse, if filing) First Name             Middle Name             Last Name                                        under 11 U.S.C. § 1325(b)(3).
                                          Southern
  United States Bankruptcy Court for the: ______________________             California
                                                                 District of __________                           2. Disposable income is determined
                                                                                 (State)                              under 11 U.S.C. § 1325(b)(3).
  Case number          19-00148-MM13
                      ___________________________________________
  (If known)                                                                                                   
                                                                                                               ✔   3. The commitment period is 3 years.
                                                                                                                  4. The commitment period is 5 years.

                                                                                                               Check if this is an amended filing

Official Form 122C–1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Part 1:          Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
    Not married. Fill out Column A, lines 2-11.
    Married. Fill out both Columns A and B, lines 2-11.
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
   the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                   Column A            Column B
                                                                                                   Debtor 1            Debtor 2 or
                                                                                                                       non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).                                                                                     0.00
                                                                                                   $____________                 0.00
                                                                                                                          $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.
                                                                                                           0.00
                                                                                                   $____________                 0.00
                                                                                                                          $__________

4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household, your dependents, parents, and
   roommates. Include regular contributions from a spouse only if Column B is not filled                   0.00
                                                                                                   $___________                 0.00
                                                                                                                          $__________
   in. Do not include payments you listed on line 3.

5. Net income from operating a business, profession, or farm

   Gross receipts (before all deductions)                                     0.00
                                                                      $____________

   Ordinary and necessary operating expenses                        – $____________

   Net monthly income from a business, profession, or farm            $____________
                                                                                           Copy            0.00
                                                                                                   $____________                0.00
                                                                                                                          $_________
                                                                                           here


6. Net income from rental and other real property
   Gross receipts (before all deductions)                                3,050.00
                                                                     $____________

   Ordinary and necessary operating expenses                           1,810.00
                                                                – $_____________
                                                                                           Copy
   Net monthly income from rental or other real property                 1,240.00
                                                                     $____________
                                                                                           here       1,240.00
                                                                                                   $____________                0.00
                                                                                                                         $__________


Official Form 122C–1               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                          page 1
            Case 19-00148-MM7                                    Filed 01/29/19                        Entered 01/29/19 19:06:23                                        Doc 10                Pg. 38 of 61
 Debtor 1            Dawn Breeze Muehl
                     _______________________________________________________                                                                                      19-00148-MM13
                                                                                                                                           Case number (if known)_____________________________________
                     First Name           Middle Name                  Last Name



                                                                                                                                        Column A                            Column B
                                                                                                                                        Debtor 1                            Debtor 2 or
                                                                                                                                                                            non-filing spouse

7. Interest, dividends, and royalties                                                                                                             0.00
                                                                                                                                          $____________                              0.00
                                                                                                                                                                               $__________

8. Unemployment compensation                                                                                                                      0.00
                                                                                                                                          $____________                              0.00
                                                                                                                                                                               $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ..................................

        For you .......................................................................          $_____________
        For your spouse .........................................................                $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                                                       0.00
                                                                                                                                          $____________                               0.00
                                                                                                                                                                               $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total on line 10c.
                                                                                                                                                   0.00
                                                                                                                                          $_____________                              0.00
                                                                                                                                                                               $___________
       10a. __________________________________________________________________

       10b. __________________________________________________________________
                                                                                                                                                   0.00
                                                                                                                                          $_____________                              0.00
                                                                                                                                                                               $___________

       10c. Total amounts from separate pages, if any.                                                                                           0.00
                                                                                                                                      + $____________                               0.00
                                                                                                                                                                           + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                        1,240.00
                                                                                                                                          $____________                +              0.00
                                                                                                                                                                               $___________           =     1,240.00
                                                                                                                                                                                                          $________
                                                                                                                                                                                                          Total average
                                                                                                                                                                                                          monthly income




Part 2:            Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. ..........................................................................................................................                         1,240.00
                                                                                                                                                                                                       $_____________
13. Calculate the marital adjustment. Check one:

     
     ✔    You are not married. Fill in 0 in line 13d.
         You are married and your spouse is filing with you. Fill in 0 in line 13d.
         You are married and your spouse is not filing with you.
          Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
          or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or
          your dependents.
           In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
           necessary, list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 on line 13d.
           13a. _______________________________________________________________________                                                       $___________
           13b. _______________________________________________________________________                                                       $___________
           13c. _______________________________________________________________________                                                    + $___________
           13d. Total .............................................................................................................                   0.00
                                                                                                                                              $___________                Copy here.         13d.   ─____________
                                                                                                                                                                                                             0.00

14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                              14.          1,240.00
                                                                                                                                                                                                       $ __________


15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here            ..................................................................................................................................................... 15a.         1,240.00
                                                                                                                                                                                                      $ ____________

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                x 12
     15b. The result is your current monthly income for the year for this part of the form.                                                                                                 15b.
                                                                                                                                                                                                        14,880.00
                                                                                                                                                                                                      $___________


 Official Form 122C–1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                            page 2
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 Debtor 1             Dawn Breeze Muehl
                     _______________________________________________________                                                                                  19-00148-MM13
                                                                                                                                       Case number (if known)_____________________________________
                     First Name          Middle Name                 Last Name




16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                               CA
                                                                                            _________

     16b. Fill in the number of people in your household.                                       1
                                                                                            _________


     16c. Fill in the median family income for your state and size of household. ............................................................................ 16c.                                   56,580.00
                                                                                                                                                                                                   $___________
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.
            ✔
                 Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C.
                  § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 122C–2).

     17b.  Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C.
                  § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 122C–2). On line 39 of that form, copy
                  your current monthly income from line 14 above.

Part 3:             Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


18. Copy your total average monthly income from line 11. .......................................................................................................................... 18.
                                                                                                                                                                                                      1,240.00
                                                                                                                                                                                                   $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
     that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
     income, copy the amount from line 13d.
     If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                     19a.
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                 ─ $__________

     Subtract line 19a from line 18.
                                                                                                                                                                                          19b.
                                                                                                                                                                                                      1,240.00
                                                                                                                                                                                                   $__________


20. Calculate your current monthly income for the year. Follow these steps:

     20a. Copy line 19b.. ............................................................................................................................................................... 20a.       1,240.00
                                                                                                                                                                                                  $___________

            Multiply by 12 (the number of months in a year).                                                                                                                                     x 12
     20b. The result is your current monthly income for the year for this part of the form.                                                                                             20b.        14,880.00
                                                                                                                                                                                                  $___________


     20c. Copy the median family income for your state and size of household from line 16c. ........................................................
                                                                                                                                                                                                    56,580.00
                                                                                                                                                                                                  $___________

21. How do the lines compare?

     
     ✔    Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
          3 years. Go to Part 4.
         Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
          check box 4, The commitment period is 5 years. Go to Part 4.


 Part 4:           Sign Below

        By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

         /s/ Dawn Breeze Muehl
              ___________________________________________________                                              ____________________________________
             Signature of Debtor 1                                                                                  Signature of Debtor 2


                   01/29/2019
             Date _________________                                                                                 Date _________________
                    MM / DD         / YYYY                                                                                   MM / DD        / YYYY



        If you checked 17a, do NOT fill out or file Form 122C–2.
        If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




 Official Form 122C–1                        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                       page 3
           Case 19-00148-MM7                       Filed 01/29/19           Entered 01/29/19 19:06:23                   Doc 10      Pg. 40 of 61


 9PSS PU [OPZ PUMVYTH[PVU [V PKLU[PM` `V\Y JHZL2

 <SPb]` ,           Dawn Breeze Muehl
                   NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
                       >W`ab DO[S               CWRRZS DO[S             BOab DO[S

 <SPb]` -              NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
 #H^]caS' WT TWZW\U$   >W`ab DO[S               CWRRZS DO[S             BOab DO[S


 J\WbSR HbObSa 9O\Y`c^bQg ;]c`b T]` bVS5 Southern District
                                         NNNNNNNNNN        of ]T
                                                     <Wab`WQb California
                                                                 NNNNNNNNN

 ;OaS \c[PS`           19-00148-MM13
                       NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
 #AT Y\]e\$
                                                                                                                    $ ;VSQY WT bVWa Wa O\ O[S\RSR TWZW\U


'**+)+(, &./- ,--;(-
Chapter 13 Calculation of Your Disposable Income                                                                                                   "#')$

DV MPSS V\[ [OPZ MVYT$ `V\ ^PSS ULLK `V\Y JVTWSL[LK JVW` VM Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period !@MMPJPHS 9VYT )**6b)"&
5L HZ JVTWSL[L HUK HJJ\YH[L HZ WVZZPISL& <M [^V THYYPLK WLVWSL HYL MPSPUN [VNL[OLY$ IV[O HYL LX\HSS` YLZWVUZPISL MVY ILPUN HJJ\YH[L& <M
TVYL ZWHJL PZ ULLKLK$ H[[HJO H ZLWHYH[L ZOLL[ [V [OPZ MVYT& <UJS\KL [OL SPUL U\TILY [V ^OPJO [OL HKKP[PVUHS PUMVYTH[PVU HWWSPLZ& @U [OL
[VW VM HU` HKKP[PVUHS WHNLZ$ ^YP[L `V\Y UHTL HUK JHZL U\TILY !PM RUV^U"&



Part 1:           Calculate Your Deductions from Your Income



    DOL <U[LYUHS BL]LU\L CLY]PJL !<BC" PZZ\LZ ?H[PVUHS HUK =VJHS C[HUKHYKZ MVY JLY[HPU L_WLUZL HTV\U[Z& EZL [OLZL HTV\U[Z
    [V HUZ^LY [OL X\LZ[PVUZ PU SPULZ .%)-& DV MPUK [OL <BC Z[HUKHYKZ$ NV VUSPUL \ZPUN [OL SPUR ZWLJPMPLK PU [OL ZLWHYH[L
    PUZ[Y\J[PVUZ MVY [OPZ MVYT& DOPZ PUMVYTH[PVU TH` HSZV IL H]HPSHISL H[ [OL IHURY\W[J` JSLYRaZ VMMPJL&
    <SRcQb bVS Sf^S\aS O[]c\ba aSb ]cb W\ ZW\Sa 1(,0 `SUO`RZSaa ]T g]c` OQbcOZ Sf^S\aS) A\ ZObS` ^O`ba ]T bVS T]`[' g]c eWZZ caS
    a][S ]T g]c` OQbcOZ Sf^S\aSa WT bVSg O`S VWUVS` bVO\ bVS abO\RO`Ra) <] \]b W\QZcRS O\g ]^S`ObW\U Sf^S\aSa bVOb g]c
    acPb`OQbSR T`][ W\Q][S W\ ZW\Sa 0 O\R 1 ]T >]`[ ,--;j,' O\R R] \]b RSRcQb O\g O[]c\ba bVOb g]c acPb`OQbSR T`][ g]c`
    a^]caSia W\Q][S W\ ZW\S ,. ]T >]`[ ,--;j,)

    AT g]c` Sf^S\aSa RWTTS` T`][ []\bV b] []\bV' S\bS` bVS OdS`OUS Sf^S\aS)

    D]bS5 BW\S \c[PS`a ,(/ O`S \]b caSR W\ bVWa T]`[) IVSaS \c[PS`a O^^Zg b] W\T]`[ObW]\ `S_cW`SR Pg O aW[WZO` T]`[ caSR W\ QVO^bS` 2 QOaSa)




      0)    DOL U\TILY VM WLVWSL \ZLK PU KL[LYTPUPUN `V\Y KLK\J[PVUZ MYVT PUJVTL
            >WZZ W\ bVS \c[PS` ]T ^S]^ZS eV] Q]cZR PS QZOW[SR Oa SfS[^bW]\a ]\ g]c` TSRS`OZ W\Q][S bOf
            `Sbc`\' ^Zca bVS \c[PS` ]T O\g ORRWbW]\OZ RS^S\RS\ba eV][ g]c ac^^]`b) IVWa \c[PS` [Og
            PS RWTTS`S\b T`][ bVS \c[PS` ]T ^S]^ZS W\ g]c` V]caSV]ZR)                                                           1.00


      ?H[PVUHS
                                    M]c [cab caS bVS AGH DObW]\OZ HbO\RO`Ra b] O\aeS` bVS _cSabW]\a W\ ZW\Sa 1(2)
      C[HUKHYKZ



      1) 9VVK$ JSV[OPUN$ HUK V[OLY P[LTZ2 JaW\U bVS \c[PS` ]T ^S]^ZS g]c S\bS`SR W\ ZW\S 0 O\R bVS AGH DObW]\OZ
            HbO\RO`Ra' TWZZ W\ bVS R]ZZO` O[]c\b T]` T]]R' QZ]bVW\U' O\R ]bVS` WbS[a)                                                    647.00
                                                                                                                                       !NNNNNNNN



      2) @\[%VM%WVJRL[ OLHS[O JHYL HSSV^HUJL2 JaW\U bVS \c[PS` ]T ^S]^ZS g]c S\bS`SR W\ ZW\S 0 O\R bVS AGH DObW]\OZ
            HbO\RO`Ra' TWZZ W\ bVS R]ZZO` O[]c\b T]` ]cb(]T(^]QYSb VSOZbV QO`S) IVS \c[PS` ]T ^S]^ZS Wa a^ZWb W\b] be]
            QObSU]`WSa"^S]^ZS eV] O`S c\RS` 10 O\R ^S]^ZS eV] O`S 10 ]` ]ZRS`"PSQOcaS ]ZRS` ^S]^ZS VOdS O VWUVS` AGH
            OZZ]eO\QS T]` VSOZbV QO`S Q]aba) AT g]c` OQbcOZ Sf^S\aSa O`S VWUVS` bVO\ bVWa AGH O[]c\b' g]c [Og RSRcQb bVS
            ORRWbW]\OZ O[]c\b ]\ ZW\S --)




ETTWQWOZ >]`[ ,--;(-                                     6OHW[LY )+ 6HSJ\SH[PVU VM GV\Y 7PZWVZHISL <UJVTL                                              ^OUS )
       Case 19-00148-MM7                               Filed 01/29/19                    Entered 01/29/19 19:06:23                                  Doc 10              Pg. 41 of 61
<SPb]` ,        Dawn Breeze Muehl
               NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                                                   ;OaS \c[PS`               19-00148-MM13
                                                                                                                                          #if known$NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
               >W`ab DO[S         CWRRZS DO[S               BOab DO[S




            ALVWSL ^OV HYL \UKLY .- `LHYZ VM HNL

                                                                         52.00
             2O) Ecb(]T(^]QYSb VSOZbV QO`S OZZ]eO\QS ^S` ^S`a]\ !NNNNNNNNNNNNNN

             2P) Dc[PS` ]T ^S]^ZS eV] O`S c\RS` 10                                       1
                                                                                   L NNNNNN
                                                                                                                6VW`
             2Q) HcPb]bOZ) CcZbW^Zg ZW\S 2O Pg ZW\S 2P)                                     52.00
                                                                                   !NNNNNNNNNNNNNN                                     52.00
                                                                                                                              !NNNNNNNNNNN
                                                                                                                OLYL

              ALVWSL ^OV HYL .- `LHYZ VM HNL VY VSKLY

                                                                        114.00
             2R) Ecb(]T(^]QYSb VSOZbV QO`S OZZ]eO\QS ^S` ^S`a]\ !NNNNNNNNNNNNNN

             2S) Dc[PS` ]T ^S]^ZS eV] O`S 10 ]` ]ZRS`                                    0
                                                                                   L NNNNNN
                                                                                                                6VW`
             2T) HcPb]bOZ) CcZbW^Zg ZW\S 2R Pg ZW\S 2S)                                      0.00
                                                                                   !NNNNNNNNNNNNNN              OLYL
                                                                                                                            & !NNNNNNNNNN
                                                                                                                                       0.00

                                                                                                                                                      52.00 6VW` OLYL
       2U) DV[HS) 8RR ZW\Sa 2Q O\R 2T) )))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))) !NNNNNNNNNNN              )))))))         52.00
                                                                                                                                                                                  !NNNNNNNN


     =VJHS
                        M]c [cab caS bVS AGH B]QOZ HbO\RO`Ra b] O\aeS` bVS _cSabW]\a W\ ZW\Sa 3(,0)
     C[HUKHYKZ

    5HZLK VU PUMVYTH[PVU MYVT [OL <BC$ [OL E&C& DY\Z[LL AYVNYHT OHZ KP]PKLK [OL <BC =VJHS C[HUKHYK MVY OV\ZPUN MVY
    IHURY\W[J` W\YWVZLZ PU[V [^V WHY[Z2
    # ;V\ZPUN HUK \[PSP[PLZ b <UZ\YHUJL HUK VWLYH[PUN L_WLUZLZ
    # ;V\ZPUN HUK \[PSP[PLZ b >VY[NHNL VY YLU[ L_WLUZLZ

    DV HUZ^LY [OL X\LZ[PVUZ PU SPULZ 0%1$ \ZL [OL E&C& DY\Z[LL AYVNYHT JOHY[& DV MPUK [OL JOHY[$ NV VUSPUL \ZPUN [OL SPUR
    ZWLJPMPLK PU [OL ZLWHYH[L PUZ[Y\J[PVUZ MVY [OPZ MVYT& DOPZ JOHY[ TH` HSZV IL H]HPSHISL H[ [OL IHURY\W[J` JSLYRaZ VMMPJL&

    3) ;V\ZPUN HUK \[PSP[PLZ b <UZ\YHUJL HUK VWLYH[PUN L_WLUZLZ2 JaW\U bVS \c[PS` ]T ^S]^ZS g]c S\bS`SR W\ ZW\S 0' TWZZ
       W\ bVS R]ZZO` O[]c\b ZWabSR T]` g]c` Q]c\bg T]` W\ac`O\QS O\R ]^S`ObW\U Sf^S\aSa)
                                                                                                                                                                                       502.00
                                                                                                                                                                                  !NNNNNNNN


    4) ;V\ZPUN HUK \[PSP[PLZ b >VY[NHNL VY YLU[ L_WLUZLZ2

             4O) JaW\U bVS \c[PS` ]T ^S]^ZS g]c S\bS`SR W\ ZW\S 0' TWZZ W\ bVS R]ZZO` O[]c\b                                      1,751.00
                  ZWabSR T]` g]c` Q]c\bg T]` []`bUOUS ]` `S\b Sf^S\aSa)                                                       !NNNNNNNNNNNN

             4P) I]bOZ OdS`OUS []\bVZg ^Og[S\b T]` OZZ []`bUOUSa O\R ]bVS` RSPba aSQc`SR Pg
                  g]c` V][S)
                  I] QOZQcZObS bVS b]bOZ OdS`OUS []\bVZg ^Og[S\b' ORR OZZ O[]c\ba bVOb O`S
                  Q]\b`OQbcOZZg RcS b] SOQV aSQc`SR Q`SRWb]` W\ bVS 1+ []\bVa OTbS` g]c TWZS
                  T]` PO\Y`c^bQg) DSfb RWdWRS Pg 1+)

                        ?HTL VM [OL JYLKP[VY                                           4]LYHNL TVU[OS`
                                                                                       WH`TLU[


              Select Portfolio Servicing
                  NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                                         1,810.00
                                                                                        !NNNNNNNNNN
                     NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                                  !NNNNNNNNNN
                     NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
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                                                                                                                6VW`
                                4P) I]bOZ OdS`OUS []\bVZg ^Og[S\b                           1,810.00
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                                                                                                                                  1,810.00 GS^SOb
                                                                                                                             " !NNNNNNNNNNNN          bVWa O[]c\b
                                                                                                                                             ]\ ZW\S ..O)

            4Q) DSb []`bUOUS ]` `S\b Sf^S\aS)
                 HcPb`OQb ZW\S 4P #total average monthly payment$ T`][ ZW\S 4O #mortgage or                                                                             )))))))          0.00
                 rent expense$) AT bVWa \c[PS` Wa ZSaa bVO\ !+' S\bS` !+)
                                                                                                                                      0.00 6VW` OLYL
                                                                                                                              !NNNNNNNNNNNN                                       !NNNNNNNN


   ,+) <M `V\ JSHPT [OH[ [OL E&C& DY\Z[LL AYVNYHTaZ KP]PZPVU VM [OL <BC =VJHS C[HUKHYK MVY OV\ZPUN PZ PUJVYYLJ[ HUK HMMLJ[Z                                                              0.00
                                                                                                                                                                                  !NNNNNNNN
       [OL JHSJ\SH[PVU VM `V\Y TVU[OS` L_WLUZLZ$ MPSS PU HU` HKKP[PVUHS HTV\U[ `V\ JSHPT&
             =f^ZOW\          _______________________________________________________________
             eVg5
                              _______________________________________________________________


'**+)+(, &./- #$$%"$                                          6OHW[LY )+ 6HSJ\SH[PVU VM GV\Y 7PZWVZHISL <UJVTL                                                                            ^OUS *
       Case 19-00148-MM7                        Filed 01/29/19               Entered 01/29/19 19:06:23                         Doc 10        Pg. 42 of 61
<SPb]` ,       Dawn   Breeze Muehl
                NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                                   ;OaS \c[PS`         19-00148-MM13
                                                                                                                        #if known$NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
                >W`ab DO[S      CWRRZS DO[S          BOab DO[S



   ,,) =VJHS [YHUZWVY[H[PVU L_WLUZLZ2 ;VSQY bVS \c[PS` ]T dSVWQZSa T]` eVWQV g]c QZOW[ O\ ]e\S`aVW^ ]` ]^S`ObW\U Sf^S\aS)

              $     +) ?] b] ZW\S ,/)
              4
              $ ,) ?] b] ZW\S ,-)
              $     - ]` []`S) ?] b] ZW\S ,-)


   ,-) FLOPJSL VWLYH[PVU L_WLUZL2 JaW\U bVS AGH B]QOZ HbO\RO`Ra O\R bVS \c[PS` ]T dSVWQZSa T]` eVWQV g]c QZOW[ bVS ]^S`ObW\U
       Sf^S\aSa' TWZZ W\ bVS Operating Costs bVOb O^^Zg T]` g]c` ;S\aca `SUW]\ ]` [Sb`]^]ZWbO\ abObWabWQOZ O`SO)                                           261.00
                                                                                                                                                      !NNNNNNN


   ,.) FLOPJSL V^ULYZOPW VY SLHZL L_WLUZL2 JaW\U bVS AGH B]QOZ HbO\RO`Ra' QOZQcZObS bVS \Sb ]e\S`aVW^ ]` ZSOaS Sf^S\aS T]`
       SOQV dSVWQZS PSZ]e) M]c [Og \]b QZOW[ bVS Sf^S\aS WT g]c R] \]b [OYS O\g Z]O\ ]` ZSOaS ^Og[S\ba ]\ bVS dSVWQZS) A\
       ORRWbW]\' g]c [Og \]b QZOW[ bVS Sf^S\aS T]` []`S bVO\ be] dSVWQZSa)


           FLOPJSL )          7LZJYPIL FLOPJSL )2       2013 Ford Focus
                                                        NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
                                                        NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN


       ,.O) Ee\S`aVW^ ]` ZSOaW\U Q]aba caW\U AGH B]QOZ HbO\RO`R)))))))))))))))))))))))))))))))))))))))            497.00
                                                                                                            !NNNNNNNNNNNN

       ,.P) 8dS`OUS []\bVZg ^Og[S\b T]` OZZ RSPba aSQc`SR Pg KSVWQZS ,)
               <] \]b W\QZcRS Q]aba T]` ZSOaSR dSVWQZSa)
               I] QOZQcZObS bVS OdS`OUS []\bVZg ^Og[S\b VS`S O\R ]\ ZW\S ,.S'
               ORR OZZ O[]c\ba bVOb O`S Q]\b`OQbcOZZg RcS b] SOQV aSQc`SR
               Q`SRWb]` W\ bVS 1+ []\bVa OTbS` g]c TWZS T]` PO\Y`c^bQg) IVS\ RWdWRS
               Pg 1+)

                  ?HTL VM LHJO JYLKP[VY MVY FLOPJSL )              4]LYHNL TVU[OS`
                                                                   WH`TLU[
                n/a
                NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                              0.00
                                                                      !NNNNNNNNNN
                NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                 #   !NNNNNNNNNN
                                                                                            6VW`                               GS^SOb bVWa O[]c\b
                             I]bOZ OdS`OUS []\bVZg ^Og[S\b                                                          0.00
                                                                                                          " !NNNNNNNNNNN
                                                                               0.00
                                                                      !NNNNNNNNNN           OLYL                               ]\ ZW\S ..P)

       ,.Q) DSb KSVWQZS , ]e\S`aVW^ ]` ZSOaS Sf^S\aS                                                                             6VW` UL[ FLOPJSL
               HcPb`OQb ZW\S ,.P T`][ ZW\S ,.O) AT bVWa \c[PS` Wa ZSaa bVO\ !+' S\bS` !+) ))))))))))))              0.00
                                                                                                            !NNNNNNNNNNN         ) L_WLUZL OLYL       !NNNNNNN0.00


           FLOPJSL *          7LZJYPIL FLOPJSL *2       NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
                                                        NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN


       ,.R) Ee\S`aVW^ ]` ZSOaW\U Q]aba caW\U AGH B]QOZ HbO\RO`R )))))))))))))))))))))))))))))))))))       !NNNNNNNNNNN

       ,.S) 8dS`OUS []\bVZg ^Og[S\b T]` OZZ RSPba aSQc`SR Pg KSVWQZS -)
                <] \]b W\QZcRS Q]aba T]` ZSOaSR dSVWQZSa)

                  ?HTL VM LHJO JYLKP[VY MVY FLOPJSL *              4]LYHNL TVU[OS`
                                                                   WH`TLU[
                NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                     !NNNNNNNNNN
                NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                 #   !NNNNNNNNNN
                                                                                            6VW`
                             I]bOZ OdS`OUS []\bVZg ^Og[S\b                     0.00                                  0.00 GS^SOb
                                                                                                          " !NNNNNNNNNNN
                                                                                                                                   bVWa O[]c\b
                                                                                                                          ]\ ZW\S ..Q)
                                                                      !NNNNNNNNNN           OLYL


           ,.T) DSb KSVWQZS - ]e\S`aVW^ ]` ZSOaS Sf^S\aS                                                                         6VW` UL[ FLOPJSL
                                                                                                            !NNNNNNNNNN          * L_WLUZL OLYL       !NNNNNNN
               HcPb`OQb ZW\S ,.S T`][ ,.R) AT bVWa \c[PS` Wa ZSaa bVO\ !+' S\bS` !+))))))))))))))))))))


   ,/) A\ISPJ [YHUZWVY[H[PVU L_WLUZL2 <M `V\ JSHPTLK ( ]LOPJSLZ PU SPUL ))$ \ZPUN [OL <BC =VJHS C[HUKHYKZ$ MPSS PU [OL Public
       Transportation L_WLUZL HSSV^HUJL YLNHYKSLZZ VM ^OL[OLY `V\ \ZL W\ISPJ [YHUZWVY[H[PVU&                                                          !NNNNNNN0.00


   ,0) 4KKP[PVUHS W\ISPJ [YHUZWVY[H[PVU L_WLUZL2 AT g]c QZOW[SR , ]` []`S dSVWQZSa W\ ZW\S ,, O\R WT g]c QZOW[ bVOb g]c [Og OZa]
       RSRcQb O ^cPZWQ b`O\a^]`bObW]\ Sf^S\aS' g]c [Og TWZZ W\ eVOb g]c PSZWSdS Wa bVS O^^`]^`WObS Sf^S\aS' Pcb g]c [Og \]b QZOW[
       []`S bVO\ bVS AGH B]QOZ HbO\RO`R T]` Public Transportation)                                                                                    !NNNNNNN0.00


'**+)+(, &./- #$$%"$                                    6OHW[LY )+ 6HSJ\SH[PVU VM GV\Y 7PZWVZHISL <UJVTL                                                          ^OUS +
       Case 19-00148-MM7                          Filed 01/29/19           Entered 01/29/19 19:06:23                                 Doc 10                    Pg. 43 of 61
<SPb]` ,           Dawn Breeze Muehl
                   NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                          ;OaS \c[PS`                      19-00148-MM13
                                                                                                                         #if known$NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
                   >W`ab DO[S     CWRRZS DO[S         BOab DO[S



     @[OLY ?LJLZZHY`                A\ ORRWbW]\ b] bVS Sf^S\aS RSRcQbW]\a ZWabSR OP]dS' g]c O`S OZZ]eSR g]c` []\bVZg Sf^S\aSa T]` bVS
     8_WLUZLZ                       T]ZZ]eW\U AGH QObSU]`WSa)

   ,1) DH_LZ2 IVS b]bOZ []\bVZg O[]c\b bVOb g]c OQbcOZZg ^Og T]` TSRS`OZ' abObS O\R Z]QOZ bOfSa' acQV Oa W\Q][S bOfSa'
       aSZT(S[^Z]g[S\b bOfSa' a]QWOZ aSQc`Wbg bOfSa' O\R CSRWQO`S bOfSa) M]c [Og W\QZcRS bVS []\bVZg O[]c\b eWbVVSZR
       T`][ g]c` ^Og T]` bVSaS bOfSa) @]eSdS`' WT g]c Sf^SQb b] `SQSWdS O bOf `STc\R' g]c [cab RWdWRS bVS Sf^SQbSR                                                               250.00
                                                                                                                                                                             !NNNNNNN
       `STc\R Pg ,- O\R acPb`OQb bVOb \c[PS` T`][ bVS b]bOZ []\bVZg O[]c\b bVOb Wa eWbVVSZR b] ^Og T]` bOfSa)
       <] \]b W\QZcRS `SOZ SabObS' aOZSa' ]` caS bOfSa)

   ,2) <U]VS\U[HY` KLK\J[PVUZ2 IVS b]bOZ []\bVZg ^Og`]ZZ RSRcQbW]\a bVOb g]c` X]P `S_cW`Sa' acQV Oa `SbW`S[S\b Q]\b`WPcbW]\a'
       c\W]\ RcSa' O\R c\WT]`[ Q]aba)
       <] \]b W\QZcRS O[]c\ba bVOb O`S \]b `S_cW`SR Pg g]c` X]P' acQV Oa d]Zc\bO`g /+,#Y$ Q]\b`WPcbW]\a ]` ^Og`]ZZ aOdW\Ua)                                                        0.00
                                                                                                                                                                             !NNNNNNN

   ,3) =PML PUZ\YHUJL2 IVS b]bOZ []\bVZg ^`S[Wc[a bVOb g]c ^Og T]` g]c` ]e\ bS`[ ZWTS W\ac`O\QS) AT be] [O``WSR ^S]^ZS O`S TWZW\U
       b]USbVS`' W\QZcRS ^Og[S\ba bVOb g]c [OYS T]` g]c` a^]caSia bS`[ ZWTS W\ac`O\QS)
       <] \]b W\QZcRS ^`S[Wc[a T]` ZWTS W\ac`O\QS ]\ g]c` RS^S\RS\ba' T]` O \]\(TWZW\U a^]caSia ZWTS W\ac`O\QS' ]` T]` O\g T]`[ ]T
       ZWTS W\ac`O\QS ]bVS` bVO\ bS`[)                                                                                                                                             0.00
                                                                                                                                                                             !NNNNNNN

   ,4) 6V\Y[%VYKLYLK WH`TLU[Z2 IVS b]bOZ []\bVZg O[]c\b bVOb g]c ^Og Oa `S_cW`SR Pg bVS ]`RS` ]T O Q]c`b ]` OR[W\Wab`ObWdS
       OUS\Qg' acQV Oa a^]caOZ ]` QVWZR ac^^]`b ^Og[S\ba)                                                                                                                          0.00
                                                                                                                                                                             !NNNNNNN
       <] \]b W\QZcRS ^Og[S\ba ]\ ^Oab RcS ]PZWUObW]\a T]` a^]caOZ ]` QVWZR ac^^]`b) M]c eWZZ ZWab bVSaS ]PZWUObW]\a W\ ZW\S .0)

   -+) 8K\JH[PVU2 IVS b]bOZ []\bVZg O[]c\b bVOb g]c ^Og T]` SRcQObW]\ bVOb Wa SWbVS` `S_cW`SR5
       # Oa O Q]\RWbW]\ T]` g]c` X]P' ]`                                                                                                                                           0.00
                                                                                                                                                                             !NNNNNNN
       # T]` g]c` ^VgaWQOZZg ]` [S\bOZZg QVOZZS\USR RS^S\RS\b QVWZR WT \] ^cPZWQ SRcQObW]\ Wa OdOWZOPZS T]` aW[WZO` aS`dWQSa)

   -,) 6OPSKJHYL2 IVS b]bOZ []\bVZg O[]c\b bVOb g]c ^Og T]` QVWZRQO`S' acQV Oa POPgaWbbW\U' ROgQO`S' \c`aS`g' O\R ^`SaQV]]Z)
       <] \]b W\QZcRS ^Og[S\ba T]` O\g SZS[S\bO`g ]` aSQ]\RO`g aQV]]Z SRcQObW]\)                                                                                                   0.00
                                                                                                                                                                             !NNNNNNN

   --) 4KKP[PVUHS OLHS[O JHYL L_WLUZLZ$ L_JS\KPUN PUZ\YHUJL JVZ[Z2 IVS []\bVZg O[]c\b bVOb g]c ^Og T]` VSOZbV QO`S bVOb Wa
       `S_cW`SR T]` bVS VSOZbV O\R eSZTO`S ]T g]c ]` g]c` RS^S\RS\ba O\R bVOb Wa \]b `SW[Pc`aSR Pg W\ac`O\QS ]` ^OWR Pg O VSOZbV
       aOdW\Ua OQQ]c\b) A\QZcRS ]\Zg bVS O[]c\b bVOb Wa []`S bVO\ bVS b]bOZ S\bS`SR W\ ZW\S 2)
       FOg[S\ba T]` VSOZbV W\ac`O\QS ]` VSOZbV aOdW\Ua OQQ]c\ba aV]cZR PS ZWabSR ]\Zg W\ ZW\S -0)
                                                                                                                                                                                   0.00
                                                                                                                                                                             !NNNNNNN


   -.) @W[PVUHS [LSLWOVULZ HUK [LSLWOVUL ZLY]PJLZ2 IVS b]bOZ []\bVZg O[]c\b bVOb g]c ^Og T]` bSZSQ][[c\WQObW]\ aS`dWQSa
       T]` g]c O\R g]c` RS^S\RS\ba' acQV Oa ^OUS`a' QOZZ eOWbW\U' QOZZS` WRS\bWTWQObW]\' a^SQWOZ Z]\U RWabO\QS' ]` PcaW\Saa QSZZ
       ^V]\S aS`dWQS' b] bVS SfbS\b \SQSaaO`g T]` g]c` VSOZbV O\R eSZTO`S ]` bVOb ]T g]c` RS^S\RS\ba ]` T]` bVS ^`]RcQbW]\ ]T
       W\Q][S' WT Wb Wa \]b `SW[Pc`aSR Pg g]c` S[^Z]gS`)                                                                                                                 &         0.00
                                                                                                                                                                             !NNNNNNNN
       <] \]b W\QZcRS ^Og[S\ba T]` POaWQ V][S bSZS^V]\S' W\bS`\Sb ]` QSZZ ^V]\S aS`dWQS) <] \]b W\QZcRS aSZT(S[^Z]g[S\b
       Sf^S\aSa' acQV Oa bV]aS `S^]`bSR ]\ ZW\S 0 ]T >]`[ ,--;(,' ]` O\g O[]c\b g]c ^`SdW]caZg RSRcQbSR)

   -/) 4KK HSS VM [OL L_WLUZLZ HSSV^LK \UKLY [OL <BC L_WLUZL HSSV^HUJLZ&                                                                                                         250.00
                                                                                                                                                                             !NNNNNNNN
       8RR ZW\Sa 1 bV`]cUV -.)

     4KKP[PVUHS 8_WLUZL                   IVSaS O`S ORRWbW]\OZ RSRcQbW]\a OZZ]eSR Pg bVS CSO\a ISab)
     7LK\J[PVUZ                           Note5 <] \]b W\QZcRS O\g Sf^S\aS OZZ]eO\QSa ZWabSR W\ ZW\Sa 1(-/)

   -0) ;LHS[O PUZ\YHUJL$ KPZHIPSP[` PUZ\YHUJL$ HUK OLHS[O ZH]PUNZ HJJV\U[ L_WLUZLZ& IVS []\bVZg Sf^S\aSa T]` VSOZbV
       W\ac`O\QS' RWaOPWZWbg W\ac`O\QS' O\R VSOZbV aOdW\Ua OQQ]c\ba bVOb O`S `SOa]\OPZg \SQSaaO`g T]` g]c`aSZT' g]c` a^]caS' ]`
       g]c` RS^S\RS\ba)
           @SOZbV W\ac`O\QS                                             0.00
                                                                  !NNNNNNNNNN

           <WaOPWZWbg W\ac`O\QS                                   !NNNNNNNNNN
           @SOZbV aOdW\Ua OQQ]c\b                            # !NNNNNNNNNN
           I]bOZ                                                      0.00
                                                               !NNNNNNNNNN        6VW` [V[HS OLYL   ))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))         0.00
                                                                                                                                                                             !NNNNNNNN

           <] g]c OQbcOZZg a^S\R bVWa b]bOZ O[]c\b7
       $      D]) @]e [cQV R] g]c OQbcOZZg a^S\R7
                                                                         0.00
                                                                  !NNNNNNNNNN
       $      MSa

   -1) 6VU[PU\PUN JVU[YPI\[PVUZ [V [OL JHYL VM OV\ZLOVSK VY MHTPS` TLTILYZ& IVS OQbcOZ []\bVZg Sf^S\aSa bVOb g]c eWZZ
       Q]\bW\cS b] ^Og T]` bVS `SOa]\OPZS O\R \SQSaaO`g QO`S O\R ac^^]`b ]T O\ SZRS`Zg' QV`]\WQOZZg WZZ' ]` RWaOPZSR [S[PS` ]T
       g]c` V]caSV]ZR ]` [S[PS` ]T g]c` W[[SRWObS TO[WZg eV] Wa c\OPZS b] ^Og T]` acQV Sf^S\aSa) IVSaS Sf^S\aSa [Og                                                                0.00
                                                                                                                                                                             !NNNNNNN
       W\QZcRS Q]\b`WPcbW]\a b] O\ OQQ]c\b ]T O _cOZWTWSR 89B= ^`]U`O[) -1 J)H);) k 0-48#P$)
    -2) AYV[LJ[PVU HNHPUZ[ MHTPS` ]PVSLUJL& IVS `SOa]\OPZg \SQSaaO`g []\bVZg Sf^S\aSa bVOb g]c W\Qc` b] [OW\bOW\ bVS aOTSbg ]T
       g]c O\R g]c` TO[WZg c\RS` bVS >O[WZg KW]ZS\QS F`SdS\bW]\ O\R HS`dWQSa 8Qb ]` ]bVS` TSRS`OZ ZOea bVOb O^^Zg)                                                                 0.00
                                                                                                                                                                             !NNNNNNN
       9g ZOe' bVS Q]c`b [cab YSS^ bVS \Obc`S ]T bVSaS Sf^S\aSa Q]\TWRS\bWOZ)


'**+)+(, &./- #$$%"$                                   6OHW[LY )+ 6HSJ\SH[PVU VM GV\Y 7PZWVZHISL <UJVTL                                                                              ^OUS ,
       Case 19-00148-MM7                                    Filed 01/29/19                      Entered 01/29/19 19:06:23                              Doc 10        Pg. 44 of 61
<SPb]` ,       Dawn  Breeze Muehl
                NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                                                           ;OaS \c[PS`         19-00148-MM13
                                                                                                                                                #if known$NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
                  >W`ab DO[S          CWRRZS DO[S                BOab DO[S




    -3) 4KKP[PVUHS OVTL LULYN` JVZ[Z& M]c` V][S S\S`Ug Q]aba O`S W\QZcRSR W\ g]c` W\ac`O\QS O\R ]^S`ObW\U Sf^S\aSa ]\ ZW\S 3)
       AT g]c PSZWSdS bVOb g]c VOdS V][S S\S`Ug Q]aba bVOb O`S []`S bVO\ bVS V][S S\S`Ug Q]aba W\QZcRSR W\ Sf^S\aSa ]\ ZW\S 3'
       bVS\ TWZZ W\ bVS SfQSaa O[]c\b ]T V][S S\S`Ug Q]aba)                                                                                                                   !NNNNNNN   0.00
       M]c [cab UWdS g]c` QOaS b`cabSS R]Qc[S\bObW]\ ]T g]c` OQbcOZ Sf^S\aSa' O\R g]c [cab aV]e bVOb bVS ORRWbW]\OZ O[]c\b
       QZOW[SR Wa `SOa]\OPZS O\R \SQSaaO`g)

    -4) 8K\JH[PVU L_WLUZLZ MVY KLWLUKLU[ JOPSKYLU ^OV HYL `V\UNLY [OHU )0& IVS []\bVZg Sf^S\aSa #\]b []`S
                                                                                                                                                                              !NNNNNNN   0.00
       bVO\ !,1")#-% ^S` QVWZR$ bVOb g]c ^Og T]` g]c` RS^S\RS\b QVWZR`S\ eV] O`S g]c\US` bVO\ ,3 gSO`a ]ZR b] ObbS\R O
       ^`WdObS ]` ^cPZWQ SZS[S\bO`g ]` aSQ]\RO`g aQV]]Z)
       M]c [cab UWdS g]c` QOaS b`cabSS R]Qc[S\bObW]\ ]T g]c` OQbcOZ Sf^S\aSa' O\R g]c [cab Sf^ZOW\ eVg bVS O[]c\b
       QZOW[SR Wa `SOa]\OPZS O\R \SQSaaO`g O\R \]b OZ`SORg OQQ]c\bSR T]` W\ ZW\Sa 1(-.)
       % HcPXSQb b] ORXcab[S\b ]\ /*+,*,$' O\R SdS`g . gSO`a OTbS` bVOb T]` QOaSa PSUc\ ]\ ]` OTbS` bVS RObS ]T ORXcab[S\b)


    .+) 4KKP[PVUHS MVVK HUK JSV[OPUN L_WLUZL& IVS []\bVZg O[]c\b Pg eVWQV g]c` OQbcOZ T]]R O\R QZ]bVW\U Sf^S\aSa O`S                                                                     0.00
                                                                                                                                                                              !NNNNNNN
       VWUVS` bVO\ bVS Q][PW\SR T]]R O\R QZ]bVW\U OZZ]eO\QSa W\ bVS AGH DObW]\OZ HbO\RO`Ra) IVOb O[]c\b QO\\]b PS []`S
       bVO\ 0" ]T bVS T]]R O\R QZ]bVW\U OZZ]eO\QSa W\ bVS AGH DObW]\OZ HbO\RO`Ra)
       I] TW\R O QVO`b aV]eW\U bVS [OfW[c[ ORRWbW]\OZ OZZ]eO\QS' U] ]\ZW\S caW\U bVS ZW\Y a^SQWTWSR W\ bVS aS^O`ObS
       W\ab`cQbW]\a T]` bVWa T]`[) IVWa QVO`b [Og OZa] PS OdOWZOPZS Ob bVS PO\Y`c^bQg QZS`Yia ]TTWQS)
       M]c [cab aV]e bVOb bVS ORRWbW]\OZ O[]c\b QZOW[SR Wa `SOa]\OPZS O\R \SQSaaO`g)

    .,) 6VU[PU\PUN JOHYP[HISL JVU[YPI\[PVUZ& IVS O[]c\b bVOb g]c eWZZ Q]\bW\cS b] Q]\b`WPcbS W\ bVS T]`[ ]T QOaV ]` TW\O\QWOZ
       W\ab`c[S\ba b] O `SZWUW]ca ]` QVO`WbOPZS ]`UO\WhObW]\) ,, J)H);) k 0/3#R$#.$ O\R #/$)                                                                               & !NNNNNNNN   0.00
       <] \]b W\QZcRS O\g O[]c\b []`S bVO\ ,0" ]T g]c` U`]aa []\bVZg W\Q][S)

    .-) 4KK HSS VM [OL HKKP[PVUHS L_WLUZL KLK\J[PVUZ&                                                                                                                       !NNNNNNNNN 0.00
       8RR ZW\Sa -0 bV`]cUV .,)


     7LK\J[PVUZ MVY 7LI[ AH`TLU[

    ..) 9VY KLI[Z [OH[ HYL ZLJ\YLK I` HU PU[LYLZ[ PU WYVWLY[` [OH[ `V\ V^U$ PUJS\KPUN OVTL TVY[NHNLZ$ ]LOPJSL
       SVHUZ$ HUK V[OLY ZLJ\YLK KLI[$ MPSS PU SPULZ ++H [OYV\NO ++L&
       I] QOZQcZObS bVS b]bOZ OdS`OUS []\bVZg ^Og[S\b' ORR OZZ O[]c\ba bVOb O`S Q]\b`OQbcOZZg RcS
       b] SOQV aSQc`SR Q`SRWb]` W\ bVS 1+ []\bVa OTbS` g]c TWZS T]` PO\Y`c^bQg) IVS\ RWdWRS Pg 1+)

                                                                                                                                        4]LYHNL TVU[OS`
                                                                                                                                        WH`TLU[
           >VY[NHNLZ VU `V\Y OVTL

           ..O) ;]^g ZW\S 4P VS`S)))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))          1,810.00
                                                                                                                                         !NNNNNNNNNNN

           =VHUZ VU `V\Y MPYZ[ [^V ]LOPJSLZ

           ..P) ;]^g ZW\S ,.P VS`S) )))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))               0.00
                                                                                                                                         !NNNNNNNNNNN


           ..Q) ;]^g ZW\S ,.S VS`S) )))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))               0.00
                                                                                                                                         !NNNNNNNNNNN

           ..R) BWab ]bVS` aSQc`SR RSPba5


                    ?HTL VM LHJO JYLKP[VY MVY V[OLY                                <KLU[PM` WYVWLY[` [OH[            7VLZ
                    ZLJ\YLK KLI[                                                   ZLJ\YLZ [OL KLI[                  WH`TLU[
                                                                                                                     PUJS\KL [H_LZ
                                                                                                                     VY PUZ\YHUJL3

                                                                                                                      4 D]
                                                                                                                      $                  !NNNNNNNNNNN
                     Harley Davidson Credit
                     NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN 2015 Softail Slim
                                                         NNNNNNNNNNNNNNNNNNNNNNNN                                     $ MSa
                                                                                                                      4 D]
                                                                                                                      $                         150.00
                                                                                                                                         !NNNNNNNNNNN
                     Dan McAllister
                     NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN  1720 Woodbridge
                                                         NNNNNNNNNNNNNNNNNNNNNNNN                                     $ MSa
                                                                                                                      4 D]
                                                                                                                      $                         150.00
                                                                                                                                       & !NNNNNNNNNNN
                     Dan McAllister
                     NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN  1724 Woodbridge
                                                         NNNNNNNNNNNNNNNNNNNNNNNN                                     $ MSa
                                                                                                                                                            6VW` [V[HS
           ..S) I]bOZ OdS`OUS []\bVZg ^Og[S\b) 8RR ZW\Sa ..O bV`]cUV ..R) ))))))))))))))))))))))))))))))))))))))))))                            300.00
                                                                                                                                         !NNNNNNNNNNN                               300.00
                                                                                                                                                                              !NNNNNNN
                                                                                                                                                            OLYL


'**+)+(, &./- #$$%"$                                               6OHW[LY )+ 6HSJ\SH[PVU VM GV\Y 7PZWVZHISL <UJVTL                                                                       ^OUS -
       Case 19-00148-MM7                                          Filed 01/29/19                           Entered 01/29/19 19:06:23                                        Doc 10        Pg. 45 of 61
<SPb]` ,        Dawn   Breeze Muehl
                 NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                                                                           ;OaS \c[PS`             19-00148-MM13
                                                                                                                                                                     #if known$NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
                  >W`ab DO[S             CWRRZS DO[S                    BOab DO[S




   ./) 4YL HU` KLI[Z [OH[ `V\ SPZ[LK PU SPUL ++ ZLJ\YLK I` `V\Y WYPTHY` YLZPKLUJL$ H ]LOPJSL$ VY V[OLY WYVWLY[` ULJLZZHY`
       MVY `V\Y Z\WWVY[ VY [OL Z\WWVY[ VM `V\Y KLWLUKLU[Z3


       $     D]) ?] b] ZW\S .0)
       4
       $     MSa) HbObS O\g O[]c\b bVOb g]c [cab ^Og b] O Q`SRWb]`' W\ ORRWbW]\ b] bVS ^Og[S\ba ZWabSR W\ ZW\S ..' b] YSS^
                  ^]aaSaaW]\ ]T g]c` ^`]^S`bg #QOZZSR bVS cure amount$) DSfb' RWdWRS Pg 1+ O\R TWZZ W\ bVS W\T]`[ObW]\ PSZ]e)

                          ?HTL VM [OL JYLKP[VY                             <KLU[PM` WYVWLY[` [OH[                    DV[HS J\YL                                   >VU[OS` J\YL HTV\U[
                                                                           ZLJ\YLZ [OL KLI[                          HTV\U[


                        Select Portfolio Servic
                       NNNNNNNNNNNNNNNNNNNNNNNNN                           1720 Woodbrid
                                                                           NNNNNNNNNNNNNNNNNN                          60,000.00
                                                                                                                     !NNNNNNNNNN               m 1+ 6                1,000.00
                                                                                                                                                                  !NNNNNNNNNNN


                        Dan McAllister
                       NNNNNNNNNNNNNNNNNNNNNNNNN                           All real property
                                                                           NNNNNNNNNNNNNNNNNN                          12,000.00
                                                                                                                     !NNNNNNNNNN               m 1+ 6                  200.00
                                                                                                                                                                  !NNNNNNNNNNN


                       NNNNNNNNNNNNNNNNNNNNNNNNN                           NNNNNNNNNNNNNNNNNN                        !NNNNNNNNNN               m 1+ 6 & !NNNNNNNNNNN
                                                                                                                                                                                        6VW`
                                                                                                                                               I]bOZ                 1,200.00
                                                                                                                                                                  !NNNNNNNNNNN          [V[HS           1,200.00
                                                                                                                                                                                                   !NNNNNNN
                                                                                                                                                                                        OLYL


   .0) 7V `V\ V^L HU` WYPVYP[` JSHPTZ    Z\JO HZ H WYPVYP[` [H_$ JOPSK Z\WWVY[$ VY HSPTVU`                                                                [OH[ HYL WHZ[ K\L HZ VM
       [OL MPSPUN KH[L VM `V\Y IHURY\W[J` JHZL3 ,, J)H);) k 0+2)
       $     D]) ?] b] ZW\S .1)
       4
       $     MSa) >WZZ W\ bVS b]bOZ O[]c\b ]T OZZ ]T bVSaS ^`W]`Wbg QZOW[a) <] \]b W\QZcRS Qc``S\b ]`
                  ]\U]W\U ^`W]`Wbg QZOW[a' acQV Oa bV]aS g]c ZWabSR W\ ZW\S ,4)

                       I]bOZ O[]c\b ]T OZZ ^Oab(RcS ^`W]`Wbg QZOW[a) ))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))                         !NNNNNNNNNNNNNN       m 1+       !NNNNNNN


   .1) AYVQLJ[LK TVU[OS` 6OHW[LY )+ WSHU WH`TLU[                                                                                                                        1,500.00
                                                                                                                                                                  !NNNNNNNNNNNNNN

       ;c``S\b [cZbW^ZWS` T]` g]c` RWab`WQb Oa abObSR ]\ bVS ZWab WaacSR Pg bVS 8R[W\Wab`ObWdS
       ETTWQS ]T bVS J\WbSR HbObSa ;]c`ba #T]` RWab`WQba W\ 8ZOPO[O O\R D]`bV ;O`]ZW\O$ ]` Pg
       bVS =fSQcbWdS ETTWQS T]` J\WbSR HbObSa I`cabSSa #T]` OZZ ]bVS` RWab`WQba$)
                                                                                                                                                                    8
                                                                                                                                                              f NNNNNN
       I] TW\R O ZWab ]T RWab`WQb [cZbW^ZWS`a bVOb W\QZcRSa g]c` RWab`WQb' U] ]\ZW\S caW\U bVS ZW\Y
       a^SQWTWSR W\ bVS aS^O`ObS W\ab`cQbW]\a T]` bVWa T]`[) IVWa ZWab [Og OZa] PS OdOWZOPZS Ob bVS
       PO\Y`c^bQg QZS`Yia ]TTWQS)
                                                                                                                                                                                        6VW`
       8dS`OUS []\bVZg OR[W\Wab`ObWdS Sf^S\aS                                                                                                                             120.00
                                                                                                                                                                  !NNNNNNNNNNNNNN       [V[HS            120.00
                                                                                                                                                                                                   !NNNNNNN
                                                                                                                                                                                        OLYL


   .2) 4KK HSS VM [OL KLK\J[PVUZ MVY KLI[ WH`TLU[& 8RR ZW\Sa ..S bV`]cUV .1)                                                                                                                            1,620.00
                                                                                                                                                                                                   !NNNNNNN




     DV[HS 7LK\J[PVUZ MYVT <UJVTL

   .3) 4KK HSS VM [OL HSSV^LK KLK\J[PVUZ&

      ;]^g ZW\S -/' All of the expenses allowed under IRS expense allowances )))))))))))))))))))))))))))))))))))                                                          250.00
                                                                                                                                                                  !NNNNNNNNNNNNNN

      ;]^g ZW\S .-' All of the additional expense deductions))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))                                          0.00
                                                                                                                                                                  !NNNNNNNNNNNNNN

                                                                                                                                             1,620.00
      ;]^g ZW\S .2' All of the deductions for debt payment ))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))) # !NNNNNNNNNNNNNN
                                                                                                                                                                                        6VW`
      I]bOZ RSRcQbW]\a ))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))         1,870.00
                                                                                                                                                                  !NNNNNNNNNNNNNN       [V[HS           1,870.00
                                                                                                                                                                                                   !NNNNNNN
                                                                                                                                                                                        OLYL




'**+)+(, &./- #$$%"$                                                      6OHW[LY )+ 6HSJ\SH[PVU VM GV\Y 7PZWVZHISL <UJVTL                                                                                     ^OUS .
          Case 19-00148-MM7                                Filed 01/29/19                    Entered 01/29/19 19:06:23                              Doc 10            Pg. 46 of 61
<SPb]` ,          Dawn   Breeze Muehl
                  NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                                                      ;OaS \c[PS`         19-00148-MM13
                                                                                                                                             #if known$NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
                   >W`ab DO[S         CWRRZS DO[S               BOab DO[S


Part 2:            Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

.4) 6VW` `V\Y [V[HS J\YYLU[ TVU[OS` PUJVTL MYVT SPUL ), VM 9VYT )**6%)$ Chapter 13                                                                                               1,240.00
                                                                                                                                                                              !NNNNNNN
     Statement of Your Current Monthly Income and Calculation of Commitment Period& )))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))

/+) 9PSS PU HU` YLHZVUHIS` ULJLZZHY` PUJVTL `V\ YLJLP]L MVY Z\WWVY[ MVY KLWLUKLU[
     JOPSKYLU& IVS []\bVZg OdS`OUS ]T O\g QVWZR ac^^]`b ^Og[S\ba' T]abS` QO`S ^Og[S\ba' ]`
     RWaOPWZWbg ^Og[S\ba T]` O RS^S\RS\b QVWZR' `S^]`bSR W\ FO`b A ]T >]`[ ,--;(,' bVOb g]c                                                       0.00
                                                                                                                                        !NNNNNNNNNNNN
     `SQSWdSR W\ OQQ]`RO\QS eWbV O^^ZWQOPZS \]\PO\Y`c^bQg ZOe b] bVS SfbS\b `SOa]\OPZg
     \SQSaaO`g b] PS Sf^S\RSR T]` acQV QVWZR)

/,) 9PSS PU HSS X\HSPMPLK YL[PYLTLU[ KLK\J[PVUZ& IVS []\bVZg b]bOZ ]T OZZ O[]c\ba bVOb g]c`
     S[^Z]gS` eWbVVSZR T`][ eOUSa Oa Q]\b`WPcbW]\a T]` _cOZWTWSR `SbW`S[S\b ^ZO\a' Oa                                                             0.00
                                                                                                                                        !NNNNNNNNNNNN
     a^SQWTWSR W\ ,, J)H);) k 0/,#P$#2$ ^Zca OZZ `S_cW`SR `S^Og[S\ba ]T Z]O\a T`][ `SbW`S[S\b
     ^ZO\a' Oa a^SQWTWSR W\ ,, J)H);) k .1-#P$#,4$)


/-) DV[HS VM HSS KLK\J[PVUZ HSSV^LK \UKLY )) E&C&6& c /(/!I"!*"!4") ;]^g ZW\S .3 VS`S ))))))))))))                                           1,870.00
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/.) 7LK\J[PVU MVY ZWLJPHS JPYJ\TZ[HUJLZ& AT a^SQWOZ QW`Qc[abO\QSa XcabWTg ORRWbW]\OZ
     Sf^S\aSa O\R g]c VOdS \] `SOa]\OPZS OZbS`\ObWdS' RSaQ`WPS bVS a^SQWOZ QW`Qc[abO\QSa
     O\R bVSW` Sf^S\aSa) M]c [cab UWdS g]c` QOaS b`cabSS O RSbOWZSR Sf^ZO\ObW]\ ]T bVS
     a^SQWOZ QW`Qc[abO\QSa O\R R]Qc[S\bObW]\ T]` bVS Sf^S\aSa)

      7LZJYPIL [OL ZWLJPHS JPYJ\TZ[HUJLZ                                                   4TV\U[ VM L_WLUZL

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       NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                              & !NNNNNNNNNNN
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//) DV[HS HKQ\Z[TLU[Z& 8RR ZW\Sa /+ bV`]cUV /.) ))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))))                      6VW` OLYL       b   !NNNNNN



/0) 6HSJ\SH[L `V\Y TVU[OS` KPZWVZHISL PUJVTL \UKLY c )+*-!I"!*"& HcPb`OQb ZW\S // T`][ ZW\S .4)
                                                                                                                                                                                  -630.00
                                                                                                                                                                              !NNNNNNN



Part 3:             Change in Income or Expenses


/1) 6OHUNL PU PUJVTL VY L_WLUZLZ& AT bVS W\Q][S W\ >]`[ ,--;(, ]` bVS Sf^S\aSa g]c `S^]`bSR W\ bVWa T]`[ VOdS QVO\USR
     ]` O`S dW`bcOZZg QS`bOW\ b] QVO\US OTbS` bVS RObS g]c TWZSR g]c` PO\Y`c^bQg ^SbWbW]\ O\R Rc`W\U bVS bW[S g]c` QOaS eWZZ PS
     ]^S\' TWZZ W\ bVS W\T]`[ObW]\ PSZ]e) >]` SfO[^ZS' WT bVS eOUSa `S^]`bSR W\Q`SOaSR OTbS` g]c TWZSR g]c` ^SbWbW]\' QVSQY
     ,--;(, W\ bVS TW`ab Q]Zc[\' S\bS` ZW\S - W\ bVS aSQ]\R Q]Zc[\' Sf^ZOW\ eVg bVS eOUSa W\Q`SOaSR' TWZZ W\ eVS\ bVS W\Q`SOaS
     ]QQc``SR' O\R TWZZ W\ bVS O[]c\b ]T bVS W\Q`SOaS)

      9VYT                 =PUL       BLHZVU MVY JOHUNL                                          7H[L VM JOHUNL              <UJYLHZL VY       4TV\U[ VM JOHUNL
                                                                                                                             KLJYLHZL3

     4 ,--;",
     $                    6NNNN        Rental Income will be raised                             05/01/2019                  4
                                                                                                                            $ A\Q`SOaS            1,000.00
                                       NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                          NNNNNNNNNNNN                                  !NNNNNNNNNNNN
     $ ,--;"-                                                                                                               $ <SQ`SOaS
     4 ,--;",
     $                    6NNNN        Real Property Sale                                       08/01/2019                  4
                                                                                                                            $ A\Q`SOaS            2,000.00
                                       NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                          NNNNNNNNNNNN                                  !NNNNNNNNNNNN
     $ ,--;"-                                         (if Court approves)                                                   $ <SQ`SOaS
     $ ,--;",             NNNN         NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                          NNNNNNNNNNNN
                                                                                                                            $ A\Q`SOaS        !NNNNNNNNNNNN
     $ ,--;"-                                                                                                               $ <SQ`SOaS

     $ ,--;",             NNNN         NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                          NNNNNNNNNNNN
                                                                                                                            $ A\Q`SOaS        !NNNNNNNNNNNN
     $ ,--;"-                                                                                                               $ <SQ`SOaS


'**+)+(, &./- #$$%"$                                              6OHW[LY )+ 6HSJ\SH[PVU VM GV\Y 7PZWVZHISL <UJVTL                                                                       ^OUS /
        Case 19-00148-MM7                          Filed 01/29/19      Entered 01/29/19 19:06:23                     Doc 10        Pg. 47 of 61
<SPb]` ,     Dawn   Breeze Muehl
              NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                           ;OaS \c[PS`         19-00148-MM13
                                                                                                              #if known$NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN
               >W`ab DO[S            CWRRZS DO[S     BOab DO[S



Part 4:         Sign Below



9g aWU\W\U VS`S' c\RS` ^S\OZbg ]T ^S`Xc`g g]c RSQZO`S bVOb bVS W\T]`[ObW]\ ]\ bVWa abObS[S\b O\R W\ O\g ObbOQV[S\ba Wa b`cS O\R Q]``SQb)



" /s/ Dawn B. Muehl
    ___________________________________________________                   "__________________________________
    HWU\Obc`S ]T <SPb]` ,                                                    HWU\Obc`S ]T <SPb]` -


        01/29/2019
   <ObS _________________                                                    <ObS _________________
           CC * <<          * MMMM                                                CC * <<      * MMMM




'**+)+(, &./- #$$%"$                                  6OHW[LY )+ 6HSJ\SH[PVU VM GV\Y 7PZWVZHISL <UJVTL                                                  ^OUS 0
           Case 19-00148-MM7        Filed 01/29/19        Entered 01/29/19 19:06:23                      Doc 10   Pg. 48 of 61

Debtor 1    Dawn Breeze Muehl                                                   Case number (if known)    19-00148-MM13


                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 07/01/2018 to 12/31/2018.

Line 6 - Rent and other real property income
Source of Income: 1720 Woodbridge Road
Income/Expense/Net by Month:
                         Date                          Income                         Expense                             Net
 6 Months Ago:                 07/2018                          $800.00                              $0.00                       $800.00
 5 Months Ago:                 08/2018                          $800.00                              $0.00                       $800.00
 4 Months Ago:                 09/2018                          $800.00                              $0.00                       $800.00
 3 Months Ago:                 10/2018                          $800.00                              $0.00                       $800.00
 2 Months Ago:                 11/2018                          $800.00                              $0.00                       $800.00
 Last Month:                   12/2018                          $800.00                              $0.00                       $800.00
                     Average per month:                         $800.00                              $0.00
                                                                          Average Monthly NET Income:                            $800.00




Line 6 - Rent and other real property income
Source of Income: 1724 Woodbridge Road
Income/Expense/Net by Month:
                         Date                          Income                         Expense                             Net
 6 Months Ago:                 07/2018                       $2,250.00                               $0.00                      $2,250.00
 5 Months Ago:                 08/2018                       $2,250.00                               $0.00                      $2,250.00
 4 Months Ago:                 09/2018                       $2,250.00                               $0.00                      $2,250.00
 3 Months Ago:                 10/2018                       $2,250.00                               $0.00                      $2,250.00
 2 Months Ago:                 11/2018                       $2,250.00                               $0.00                      $2,250.00
 Last Month:                   12/2018                       $2,250.00                               $0.00                      $2,250.00
                     Average per month:                      $2,250.00                               $0.00
                                                                          Average Monthly NET Income:                           $2,250.00




Official Form 122C                     Chapter 13 Statement of Your Current Monthly Income                                       Software Copyright (c) 1996
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 Revised: 12/01/17
 Name, Address,
 Deepalie        Telephone
          Milie Joshi,       No. &
                       Esq., SBN   I.D. No.
                                 270303
 JOSHI LAW GROUP
 8555 Aero Drive, Ste. 303
 San Diego, CA 92123
 619.822.7566, milie@joshilawgroup.com


    UNITED STATES BANKRUPTCY COURT
         SOUTHERN DISTRICT OF CALIFORNIA
    325 West F Street, San Diego, California 92101-6991




 In Re
 MUEHL, DAWN B.
                                                                   BANKRUPTCY NO. 19-00148-MM13

  Last four digits of Soc. Sec. or                Debtor.
  Individual-Taxpayer I.D.(ITIN)/Complete EIN:




                         UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
                 RIGHTS AND RESPONSIBILITIES OF CHAPTER 13 DEBTORS
                               AND THEIR ATTORNEY
                                   (Consumer Case)

 It is important for debtors in Chapter 13 bankruptcy to understand their rights and
 responsibilities. It is also important that they know what their attorney’s responsibilities are, and
 appreciate the importance of communicating with their attorney to make the case successful.
 Debtors can expect their attorney to provide certain services for them. And they should know the
 costs of attorneys’ fees through the life of a plan. To assure that debtors and their attorney
 understand their rights and responsibilities in the bankruptcy process, the Bankruptcy Court has
 made the following rights and responsibilities binding on them under Local Bankruptcy Rule
 1002-1(c) and General Order 180-A. (Nothing in this agreement should be construed to excuse
 an attorney from any ethical duties or responsibilities under any other applicable law.)

 Debtors’ attorneys can be paid in one of two ways: through guideline fees; or by formal fee
 application. The choice, agreed upon by the debtors and their attorney, must be made at the start
 of the representation. Once an attorney accepts any type of guideline fee in any amount,
 guideline fees will apply for the duration of the case. In this case, the attorney [check one]:

                   will be paid guideline fees (subject to increase through a fee application only in
                   atypical cases as discussed below).

         ✔         waives guideline fees and will instead prepare fee applications for all work done.




                                                              1
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 UNLESS THE COURT ORDERS OTHERWISE, in every case – regardless of fee regime –
 the following rights and responsibilities apply:

 The debtor must:

 1.     Provide accurate financial information.
 2.     Provide information in a timely manner.
 3.     Cooperate and communicate with the attorney.
 4.     Discuss with the attorney the debtor’s objectives in filing the case.
 5.     Keep the trustee and attorney informed of the debtor’s address and telephone number.
 6.     Inform the attorney of any wage garnishments or attachments of assets which occur or
        continue after the filing of the case.
 7.     Contact the attorney promptly if the debtor loses his/her job or has other financial problems.
 8.     Let the attorney know immediately if the debtor is sued before or during the case.
 9.     Inform the attorney if any tax refunds the debtor is entitled to are seized or not returned to
        the debtor by the IRS or Franchise Tax Board.
10.     Contact the attorney before buying, refinancing, or selling real property or before entering
        in to any long-term loan agreements to find out what approvals are required.
11.     Pay any filing fees and filing expenses that may be incurred directly to the attorney.
12.     Pay appropriate attorney’s fees commensurate with this agreement and the United States
        Bankruptcy Court Guidelines regarding Chapter 13 Attorney Fees. Any future increase or
        other change in “additional fees” under the guidelines will also automatically apply to
        this case until it is finally closed. If a court order is entered regarding attorney’s fees, fees
        should be paid in accordance with the court’s order.

 To receive $3,900 in “initial fees,” under the guidelines, or in the case of all fee applications,
 the attorney must:

 1.     Meet with the debtor to review the debtor’s assets, liabilities, income and expenses.
 2.     Analyze the debtor’s financial situation, and render advice to the debtor in determining
        whether to file a petition in bankruptcy.
 3.     Counsel the debtor regarding the advisability of filing either a Chapter 7 or Chapter 13 case,
        discuss both procedures with the debtor, and answer the debtor’s questions.
 4.     Explain to the debtor how the attorney’s fees and trustee’s fees are paid.
 5.     Explain what payments will be made directly by the debtor and when to make those
        payments, and what payments will be made through the debtor’s chapter 13 plan (with
        particular attention to mortgage and vehicle loan payments, as well as any other claims
        with accrued interest).
 6.     Explain to the debtor how, when, and where to make the chapter 13 plan payments.
 7.     Explain to the debtor that the first plan payment must be made to the Trustee within 30 days
        of the date the plan is filed.
 8.     Advise the debtor of the requirement to attend the § 341(a) Meeting of Creditors, and
        instruct the debtor as to the date, time and place of the meeting.
 9.     Advise the debtor of the necessity of maintaining liability, collision and comprehensive
        insurance on vehicles securing loans or leases.
10.     Timely prepare, file and serve the debtor’s petition, plan, schedules, statement of financial
        affairs, and any necessary amendments thereto, which may be required.
11.     Provide an executed copy of the Rights and Responsibilities of Chapter 13 Debtors and their
        Attorneys and a copy of the Court’s Guidelines regarding Chapter 13 Attorney Fees to the
        debtor.
12.     Appear and represent the debtor at the § 341(a) Meeting of Creditors and any
        confirmation hearings.

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13.     Respond to the objections to plan confirmation, and where necessary, prepare, file and serve
        an amended plan.
14.     Provide Certification of Eligibility for Discharge pursuant to Local Bankruptcy Rule 4004-1.
15.     Provide such other legal services as are necessary for the administration of the case before
        the Bankruptcy Court, which include, but are not limited to, a continuing obligation to assist
        the debtor by returning telephone calls, answering questions and reviewing and sending
        correspondence.

 Additional services may be required, but are not included in the guideline “initial fees” of
 $3,900. If necessary and when appropriate, the attorney, at the debtor’s request and only with
 the debtor’s cooperation, must provide the following services for “additional fees” described
 below:

 1.     Prepare, file and serve necessary modifications to the plan post-confirmation, which may
        include suspending, lowering or increasing plan payments.
 2.     Prepare, file and serve necessary motions to buy, sell or refinance real property and authorize
        use of cash collateral or assume executory contracts or unexpired leases.
 3.     Object to improper or invalid claims.
 4.     Represent the debtor in motions for relief from stay.
 5.     Prepare, file and serve necessary motions to avoid liens on real or personal property.
 6.     Prepare, file and serve necessary oppositions to motions for dismissal of case.
 7.     Provide such other legal services as are necessary for the administration of the case before
        the Bankruptcy Court, which include but are not limited to, presenting appropriate legal
        pleadings and making appropriate court appearances.

 Should additional services be provided and “additional fees” requested, the attorney must:

 1.     Provide proper notice in accordance with Federal Rule of Bankruptcy Procedure 2002.
 2.     Advise the debtor of all “additional fees” requested and file a declaration with the court
        stating that counsel has so advised the debtor of the fees requested and the debtor has no
        objection to the requested fees.

 The “Guidelines Regarding Chapter 13 Attorney Fees” provide for “additional fees” within the
 United States Bankruptcy Court’s parameters for “additional fees” in the following amounts and
 include all court appearances required to pursue described actions.

        Modified Plan (Post-Confirmation)                                    $685

        for fees and expenses for services rendered post-confirmation for opposing, preparing,
        filing, noticing, and attending hearings on any motion to modify debtor’s plan under
        section 1329 of the Bankruptcy Code (including the preparation of amended income and
        expenses statements and providing proof of income). (These fees should be less for
        modification due to clerical error or other administrative issues.)

        Opposition to Motions for Relief from Stay

        $500   (Personal property)             for fees and expenses of all services rendered in
        $675   (Real property)                 opposition to motions to modify or vacate automatic
                                               stay.




                                                  3
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        Obtaining Orders re: Sale or Refinance of Real Property

        $570    (By stipulation or            for fees and expenses of all services rendered for
                noticed hearing)              order authorizing the sale or refinancing of real estate,
                                              but not including loan modifications.

        Objections to Claim

        $270    (Uncontested objections       for fees and expenses of all services rendered for
                without hearing)              preparing, filing and noticing objections
        $400    (Contested objections         to a claim. (Fees must not exceed 50% of the
                with a hearing)               amount the trustee would have otherwise paid.)

        Oppositions to Dismissal/Motions to Avoid Lien/
        Loan Modifications/Other Routine Pleadings                           $515

        for fees and expenses of all services rendered for preparing, filing, noticing, and attending
        hearings in opposition to a motion to dismiss the case, for motions to avoid lien or to
        approve a loan modification, and for other routine pleadings.

        Motions to Value Real Property, Treat Claim as
        Unsecured and Avoid Junior Lien (Lien Strips)                        $655

        for fees and expenses of all services rendered for preparing, filing, noticing, and attending
        hearings when there is opposition to a motion to value real property, treat claim as unsecured
        and avoid junior lien.

        Motions to Impose/Extend Automatic Stay

        $390 (Unopposed)                       for fees and expenses for all services rendered for
        $575 (Opposed)                         preparing, filing, noticing and attending hearings
                                               on motion to impose or extend the automatic stay.

        Novel and Complex Motions and Oppositions to Motions

        These types of motions and oppositions may be billed at hourly rates, and counsel must
        file a fee application in compliance with Federal Rules of Bankruptcy Procedure and
        Local Bankruptcy Rules 2002 and 2016.

Requirements for a fee application:

Once the attorney receives any guideline fee in the case, a later fee application must be based on
atypicality. That requires showing that the case presented issues more difficult than those faced by
Chapter 13 practitioners on a regular basis. See Law Offices of David A. Boone v. Derham-Burk (In
re Eliapo), 468 F.3d 592 (9th Cir. 2006). Filing a novel and complex motion, or opposing one, may
meet that description. All fee applications must comply with applicable rules, including Federal
Rules of Bankruptcy Procedure and Local Bankruptcy Rules 2002 and 2016, and all United States
Trustee guidelines.




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Debtor’s objection to a fee application:

The debtor has the right to timely object to a fee application, and may be heard in connection with
any other party’s fee objection. If the debtor disputes the legal services provided or the fees charged
by the attorney, the debtor may file an objection with the court and set the matter for hearing.

Dismissal or withdrawal of the attorney:

Any change of debtor’s attorney must be approved by court order. This requirement applies to all
substitutions and withdrawals of counsel, including where: (1) debtor seeks to discharge the
attorney; (2) the attorney seeks permission to withdraw as counsel; and (3) debtor and their attorney
file a stipulation to substitute or withdraw counsel.

Payment of fees:

By signing this document, debtor agrees that their attorney can be paid guideline fees in the
amounts listed above, if guideline fees have been chosen. All post-filing fees will be paid through
the plan unless either the court orders otherwise, or the attorney: (1) holds in their client trust
account all additional fees paid by the debtor; (2) promptly discloses receipt of those fees; and
(3) promptly seeks court approval. Such fees may be disbursed from the attorney’s client trust
account only after the court awards them. The bankruptcy judge has discretion in approving fees,
and may allow less than the requested amount.

The initial guideline fee may not exceed $3,900 in consumer cases. The initial fee charged in this
case is $ subject to fee application
                                   .


I acknowledge the foregoing.

  Dated: January 29, 2019                       /s/ Dawn B. Muehl
                                                Debtor

  Dated:
                                                Debtor

  Dated: January 29, 2019                       /s/ Deepalie Milie Joshi, Esq.
                                                Attorney for Debtor(s)




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of California
 In re       Dawn Breeze Muehl                                                                                Case No.      19-00148-MM13
                                                                                   Debtor(s)                  Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $    FEE APPLICATION
             Prior to the filing of this statement I have received                                        $    SEE RIGHTS & RESPONSIBILITIES
             Balance Due                                                                                  $    FEE APPLICATION
2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 29, 2019                                                             /s/ Deepalie Milie Joshi, Esq.
     Date                                                                         Deepalie Milie Joshi, Esq.
                                                                                  Signature of Attorney
                                                                                  JOSHI LAW GROUP
                                                                                  8555 Aero Drive, Ste. 303
                                                                                  San Diego, CA 92123
                                                                                  (619)822-7566
                                                                                  milie@joshilawgroup.com
                                                                                  Name of law firm




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CSD 1008 [08/21/00]
 Name, Address, Telephone No. & I.D. No.
 Deepalie Milie Joshi, Esq.
 8555 Aero Drive, Ste. 303
 San Diego, CA 92123
 (619)822-7566
 270303 CA

                       UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
          325 West "F" Street, San Diego, California 92101-6991


 In Re
 Dawn Breeze Muehl
                                                                                             BANKRUPTCY NO. 19-00148-MM13


                                                                             Debtor.

                                                            VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

      New petition filed. Creditor diskette required.                                                         TOTAL NO. OF CREDITORS:               8

      Conversion filed on               . See instructions on reverse side.
               Former Chapter 13 converting. Creditor diskette required.                                      TOTAL NO. OF CREDITORS:
               Post-petition creditors added. Scannable matrix required.
               There are no post-petition creditors. No matrix required.

      Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
      Equity Security Holders. See instructions on reverse side.
                         Names and addresses are being ADDED.
                         Names and addresses are being DELETED.
                         Names and addresses are being CORRECTED.

PART II (check one):

      The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

      The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
      the filing of a matrix is not required.
 Date: January 29, 2019                                              /s/ Dawn Breeze Muehl
                                                                     Dawn Breeze Muehl
                                                                     Signature of Debtor




                                                          REFER TO INSTRUCTIONS ON REVERSE SIDE
CSD 1008
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CSD 1008 (Page 2) [08/21/00]
                                                                      INSTRUCTIONS

1)          Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)          A creditors matrix with Verification is required whenever the following occurs:

            a)          A new petition is filed. Diskette required.

            b)          A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

            c)          An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
                        debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)          The scannable matrix must be originally typed or printed. It may not be a copy.

4)          CONVERSIONS:

            a)          When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
                        mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

            b)          For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
                        mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
                        security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)          AMENDMENTS AND BALANCE OF SCHEDULES:

            a)          Scannable matrix format required.

            b)          The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
                        portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

            c)          Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
                        each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
                        on the same page in alphabetical order.

6)          Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
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